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Exhibit C~

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Plympton a ee oo

a. " Bo .-135 Dore Street Unit A, San Francisco, CA 94103 © ot eM Bk ae we

Short Fiction Audiobook Licensing ‘Agreement .

This Agreement is made between Plympton, Inc., a Delaware Cofporation, ‘having. itis principal place
_of business at 135° Dore Street Unit A, San Francisco, CA 94103, (“Plympton”) and Sonya Larson (the
““Author’), respecting the short stories identified in Exhibit A  (cokecvely, the oe). The ° parties.

hereby agree as follows:

“4. GRANT OF RIGHTS

_ Subject to the restrictions and conditions
elsewhere in this Agreement, Author hereby
grants Plympton the following rights:

1.7. Audiobook Rights

The exclusive, sublicensable, worldwide right
to produce, manufacture, sell, display,
distribute and trarismit a reading of the Work in
audio form (as an “Audiobook’).

_ 4.2. Associated Electronic Publishing Rights

The nonexclusive, sublicensable, worldwide
right to republish the Work in electronic or
ebook form, including, as reasonably
necessary, the right to produce, manufacture,
sell, display, distribute and transmit the Work,
as an accompaniment to the Audiobook
version of the Work.

2. LICENSE RESTRICTIONS

2.7. Commercial Audiobook Licensing and
Related Commercial Publishing Through
Audible.com

Plympton’s only use of the licensed rights shall
be fo make commercially reasonable efforts to
sublicense the Audiobook Rights and
Associated Electronic Publishing Rights to
Audible.com, subject to the royalty provisions
of Section 5. Any exclusive sublicense of the

. Audiobook Rights Plympton granis shall be
terminable after a term of no more than ten
years.

2. 2 Text Alterations

Plympton and its licensees will make no
alterations to the Work's text or title without the
Author's written approval. Plympton reserves
the right to make minor copyediting changes to
conform the style of the text to its customary
form and usage. Plympton assumes
responsibility and costs for copyediting.

2.3, Audiobook Alterations

The Work may be adapted and edited in order
to make it suitable for the Audiobook format.
Such alterations include: adding an intro and.
outro; dividing the Works into parts, chapters or
other appropriate sub-divisions; and excluding
from production any portions of the Works that
are not suitable for audio, such as prologues,

epilogues, appendices, footnotes, endnotes,
and visual elements.

2.4. Copyright Notice arid Attribution

Plympton shall include, and shall have its
licensees include, copyright notices and other
credits provided by Author in all copies of the
Werk.

3. AUTHOR’S UNDERTAKINGS

3. Delivery

Author shall deliver the Work no later than 30
days from the execution of this Agreement.

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3.2. Name, Likeness, and Biographical
information

At Plympton’s request, Author shall provide
biographical information about Author. Author
hereby permits Plympton to grant Audible.com
the right to use such information, along with

- Author's name and likeness, to market the
Work, the Audiobook, and the Audible.com
service.

4. PLYMPTON’S UNDERTAKINGS
4.4. Covers

Plympton shall, at its own expense, create or
have made original artwork to serve as covers
for the Work. Upon request, Author shail have
the opportunity to review and comment on any
such cover before publication.

4.2. Summaries

Plympton shail create or have made short

summaries of the Work for promotional and

informational purposes. Author may, at

Author's election, provide such summaries for
Plympton’s use.

5, COMPENSATION AND ROYALTIES

As consideration for the grant of rights in
Section 1, Plympton agrees to pay the royalties
specified in Exhibit B.

6. REPORTS AND PAYMENTS

lf there is revenue to report, Plympton will
report licensing and sales revenue quarterly.
Payments will be made quarterly, providing
that either (a) Author's outstanding royalties
exceed $125.00, or (b) author has filed with
Plympton a written request for payment of all
outstanding royalties with at least 30 days
notice.

7. TERM AND TERMINATION

This agreernent shall last an initial term of one
year, at which point it shall automatically renew
for successive one-year terms. After the initial
term, either party shall have the right to

terminate this agreement upon sixty days
notice.

Upon termination of this Agreement, Plympton |
shall make all outstanding royalty payments to
Author, cease publishing or licensing the Work,
and use commercially reasonable efforts to
delete, destroy, or otherwise render
inaccessible all copies of the Work in
Plympton’s possession, except for any copies
required to be maintained by law or file and
reference copies that are maintained in
accordance with Plympton’s ordinary business
practices. Notwithstanding the foregoing,
Plympton’s licensees shall have the right to
make use of the Work for the full term of their
respective licenses. All provisions of this
Agreement relating to payment and.
indemnification rights shall survive termination.

8. WARRANTIES AND REPRESENTATIONS
Author represents, warrants, and covenants:

a. that he or she is the author of the Work;

b. that he or she is the owner of all the
rights granted to Plympton hereunder
and has full power to enter inio this
Agreement and to make the grants
herein contained:

c, that the Work is not libelous or obscene

or otherwise contrary to law; and

d. that it does not infringe upon any
copyright or upon any other proprietary
or personal right of any third parties.

9. INDEMNIFICATION

Author shall indemnify Plympton against any
loss, injury, or damage finally sustained

_ (including any legal! costs or expenses and any

compensation costs and disbursemenis paid
by Plympton) occasioned to Plympton in
connection with or in consequence of any
breach of the warranties of Section 8 for which
Plympion is not able to recover under its
insurance policies,

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10. GENERAL
10.1. integration and Modification

This Agreement comprises the entire:
understanding of the parties, and supersedes
and merges all prior and contemporaneous
agreements, understandings and discussions
between the parties relating to the subject
matter of this Agreement. No madification or
amendment of this Agreement will be effective
unless in writing.

10.2. Severability

In the event that any law prohibits any
provision of this Agreement, such provision
shall be ineffective to the extent of such
prohibition without invalidating any of the
remaining provisioris of the Agreement.

10.3, Governing Law

This agreement shall be interpreted under the
laws of the State of Califomia. All disputes

arising out of or relating to this Agreement may
onty be brought in the state or federal courts
located in San Francisco, California, and the

pattiés hereby submit to the personal and

exclusive jurisdiction and venue of these
courts. —

Agreed and accepted by:

Sonya Larson

02/16/2016

Jannifer 8. Lee on behalf of Plympton, Inc.

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Short Fiction Licensing Agreement
Exhibit A — The Work

For the purposes of the Agreement, the “Work” shall mean, collectively, the short stories specified
below, including any artwork, graphics, or images included in such stories. :

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Gabe Dove

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Exhibit B —- Compensation and Royalties

Plympton shall pay Author:
* An initial payment of $125 per story; and

* 50% of the gross royalties revenues received from the licensing of the Work to Audible.com.

